               U.S. Department of Justice
                                                   Civil Division


                                                   Washington, D.C. 20044



VIA E-FILING                                              May 16, 2025

Hon. Anastasia Dubrovsky
Clerk of Court
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2500
Boston, MA 02210

Re:   D.V.D., et al., v. U.S. Department of Homeland Security, et al., No. 25-1393
      Notice of Errata

Dear Ms. Dubrovsky:

       The Government provides notice of an error in the May 25, 2025 Declaration
of Brian Ortega cited in its Motion For a Stay Pending Appeal and Immediate
Administrative Stay. See e.g., Br. at 4-5 (citing ECF No. 31-1).1 Citing the May 25,
2025 Declaration of Brian Ortega, the Government stated that Plaintiff O.C.G. was
removed to Mexico “after the Department of Homeland Security (DHS) gave him
notice that he was being removed to Mexico and he did not assert a fear of return to
that country.” Br. at 4-5. While this statement is no longer supported by Brian
Ortega’s declaration, it remains supported by Plaintiff O.C.G.’s declaration which
states an “immigration officer told [him] that he was being deported to Mexico.”
Declaration of O.C.G., ECF No. 8-4 at ¶ 9. This error does not impact any of the
Government’s substantive arguments in this appeal. See generally, Br.




1
 Defendants have contemporaneously filed a declaration and a corresponding notice
in the district court correcting the error. See ECF No. 103.
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               Regards,

               YAAKOV M. ROTH
               Acting Assistant Attorney General

               DREW C. ENSIGN
               Deputy Assistant Attorney General

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               Assistant Director

               /s/Mary L. Larakers
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                           CERTIFICATE OF SERVICE

      I, Mary Larakers, Senior Litigation Counsel, hereby certify that this document

filed through the ECF system will be sent electronically to the registered participants

as identified on the Notice of Electronic Filing (NEF) and paper copies will be sent

to those indicated as non-registered participants.




                                              /s/ Mary L. Larakers
                                              Mary L. Larakers
Dated: May 16, 2025                           Senior Litigation Counsel
